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                                                        HONORABLE RICHARD A. JONES
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6
                            UNITED STATES DISTRICT COURT
7                          WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
8
     WILD FISH CONSERVANCY
9
                  Plaintiff,
10                                                    Case No. 20-cv-417-RAJ
           v.
11                                                    ORDER ADOPTING REPORT
     BARRY THOM, et al.,                              AND RECOMMENDATION
12
13                Defendants,

14         and

15   ALASKA TROLLERS ASSOCIATION
     and STATE OF ALASKA,
16
                  Defendants.
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18         The Court, having reviewed the Report and Recommendation of the Honorable
19   Michelle L. Peterson, United States Magistrate Judge, any objections thereto, and the
20   remaining record, hereby finds and ORDERS as follows:
21         (1) The Report and Recommendation is approved and adopted;
22         (2) Plaintiff’s Motion for Summary Judgment (Dkt. # 91) is GRANTED. Judge
23   Peterson will submit an additional report and recommendation to the Court considering
24   an appropriate remedy for Defendants’ violations of section 7(a)(2) of the Endangered
25   Species Act and the National Environmental Policy Act.
26         (3) Defendants’ Cross-Motion (Dkt. # 93), Defendant-Intervenors Alaska Trollers
27   Association’s Cross-Motion (Dkt. # 92), and the State of Alaska’s Cross-Motion (Dkt. #
28   ORDER – 1
            Case 2:20-cv-00417-RAJ Document 122 Filed 08/08/22 Page 2 of 2




     94) are DENIED; and
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           (4) The Clerk is directed to send copies of this Order to the parties.
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           DATED this 8th day of August, 2022.
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                                                      A
                                                      The Honorable Richard A. Jones
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                                                      United States District Judge
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28   ORDER – 2
